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                                 UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF MASSACHUSETTS

____________________________________
ESTADOS UNIDOS MEXICANOS,            )
                                     )
                  Plaintiff,         )                                CIVIL ACTION NO.: 1:21-cv-11269FDS
                                     )
        v.                           )
                                     )
SMITH & WESSON BRANDS, INC.;         )
BARRETT FIREARMS                     )
MANUFACTURING, INC.; BERETTA         )
U.S.A. CORP; BERETTA HOLDINGS        )
S.P.A.; CENTURY INTERNATIONAL        )
ARMS, INC.; COLTS MANUFACTURING)
COMPANY LLC; GLOCK, INC.; GLOCK )
GES.M.B.H; STURN, RUGER & CO.,       )
INC.; WITMER PUBPLIC SAFETY          )
GROUP, INC. D/B/A INTERSATE ARMS, )
                                     )
                  Defendants.        )
____________________________________)

                            BERETTA U.S.A. CORP’S RULE 7.1 STATMENT

          Pursuant to Federal Rule of Civil Procedure 7.1 and to enable District Judges and

Magistrate Judges of the Court to evaluate possible disqualification or recusal, undersigned

counsel for Beretta U.S.A. Corp. certifies that Beretta U.S.A. Corp. is owned 98% by Beretta

Holding S.A. and no publicly traded company owns 10% or more of its stock.

Dated: November 22, 2021                                       Respectfully submitted,


                                                               COZEN O’CONNOR


                                                               By: /s/ Michael A. Savino
                                                                   Michael S. Savino, Esq.
                                                                   Michael B. de Leeuw, Esq. (pro hac vice
                                                                   admission pending)
                                                                   John K. McDonald
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